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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



MENNONITE CHURCH USA, et al.,

       Plaintiffs,

       v.
                                                            Civil Action No. 25-CV-00403-DLF
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,

       Defendants.




                       JOINT MOTION FOR A SCHEDULING ORDER

       The parties respectfully request that the Court enter the schedule proposed below. In

support of this motion, the parties state the following:

       1.      Plaintiffs filed this action on February 11, 2025. See Compl., ECF No. 1. Shortly

thereafter, Plaintiffs informed Defendants of their intent to file a motion for a preliminary

injunction.

       2.      The parties subsequently conferred about a schedule for briefing Plaintiffs’

anticipated motion and agree to the following:

               •     February 21, 2025: Plaintiffs’ Motion for a Preliminary Injunction;

               •     March 14, 2025: Defendants’ Response to Plaintiffs’ Motion for a
                     Preliminary Injunction;

               •     March 24, 2025: Plaintiffs’ Reply in further support of their Motion for a
                     Preliminary Injunction;
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                •   Plaintiffs respectfully submit that oral argument would aid the Court’s
                    resolution of Plaintiffs’ Motion and request that the Court schedule oral
                    argument at its soonest availability after the close of briefing.

        3.      The parties also conferred about further proceedings during the pendency of

Plaintiffs’ motion and agree to stay all additional deadlines, case management obligations, and

discovery in this matter pending resolution of Plaintiffs’ concurrently filed Motion for a

Preliminary Injunction. This stay would apply, without limitation, to Defendants’ response to

Plaintiffs’ Complaint; the attorney conference required pursuant to Federal Rule of Civil

Procedure 26(f); the issuance of a scheduling order pursuant to Federal Rule of Civil Procedure

16(b); initial disclosure obligations pursuant to Rule 26(a)(1); and all other written, documentary,

and oral discovery. The parties reserve their respective rights to seek leave of Court to lift the

stay as appropriate.

        4.      The parties agree they will submit a joint status report proposing a schedule for

further proceedings within 10 days of the Court’s order resolving Plaintiffs’ Motion for a

Preliminary Injunction.

        5.      There is good cause for staying further proceedings during the pendency of

Plaintiffs’ motion. See Clinton v. Jones, 520 U.S. 681, 706 (1997) (stating that a “[d]istrict Court

has broad discretion to stay proceedings as an incident to its power to control its own docket”).

Any order on Plaintiffs’ Motion for a Preliminary Injunction necessarily will inform Defendants’

response to the Complaint and shape the next steps in the litigation. In particular, the Court’s

treatment of the jurisdictional and merits issues likely to be raised in the parties’ briefs at the

preliminary-injunction stage will inform, in substantial part, the nature and scope of any motion

to dismiss, as well as discovery.

        6.      Accordingly, the parties respectfully request that the Court enter the parties’

proposed order setting a schedule for briefing Plaintiffs’ Motion for a Preliminary Injunction and
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staying all additional deadlines, case management obligations, and discovery pending resolution

of the motion.

Dated: February 21, 2025                    Respectfully submitted,


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*Pro hac vice application forthcoming. DC Bar application pending, practice pursuant to Rule
49(c)(8), DC Courts, and supervised by DC Bar member



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